






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00814-CV






Walter Lee Hall, Jr., Appellant


v.


U. S. Bank National Association, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-GN-10-002606, HONORABLE GISELA D. TRIANA-DOYAL, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Walter Lee Hall, Jr. filed a bankruptcy petition in the U.S. Bankruptcy
Court of the Western District of Texas on January 24, 2011.  We therefore abate this appeal until a
party files a motion to reinstate or a motion to sever.  See Tex. R. App. P. 8.1,&nbsp;8.2, 8.3.  Hall is
ordered to inform this Court within ten calendar days of the resolution of the bankruptcy proceeding
or some other event that would allow the appeal to be reinstated.  Should Hall fail to provide such
notice, the appeal will be subject to dismissal for want of prosecution on this Court's or another
party's motion.

					__________________________________________

					David Puryear,  Justice

Before Justices Puryear, Pemberton and Rose

Bankruptcy

Filed:   June 2, 2011


